                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA              :
                                      :            Case No.: 3:18cr5 (VAB)
                                      :
             v.                       :
                                      :
                                      :
CANDACE RISPOLI                       :            May 21, 2019


        GOVERNMENT=S MEMORANDUM IN AID OF SENTENCING

       The Court has scheduled sentencing in this matter for May 28, 2019. The

Government respectfully submits that a sentence within the parties’ agreed upon

advisory guidelines range of 27 to 33 months’ imprisonment is appropriate and

represents a balanced consideration of the sentencing factors set forth in 18 U.S.C.

§ 3553(a).

I.     BACKGROUND

     A. Factual Background

       Rispoli began working for Lodestone Management, later known as Infosys

Consulting (the “Company”), in late-January 2012. Less than three months later, she

began a years-long scheme to embezzle from the Company by improperly using its

American Express credit card (“AMEX”). Rispoli continued that scheme until she was

laid off in June 2016 and no longer had access to the AMEX, by which time she had

stolen over $1 million.

       Rispoli embezzled from the Company in two ways.




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      First, Rispoli fraudulently charged personal expenses and expenses of her

then-boyfriend, Michael Miano, on the Company’s AMEX, funding their extravagant

lifestyle. These charges included rental cars, airline tickets, hotel reservations,

meals, and luxury items. It also included several thousand-dollar orders for custom

t-shirts; Rispoli designed a t-shirt to support her cousin Nick Fradiani while he was

an American Idol contestant, billed the production costs to the Company, and sold

them for a profit. In total, these fraudulent charges amounted to more than $250,000.

      Second, Rispoli used the AMEX to fraudulently transfer more than $800,000

of the Company’s money to her or Miano’s PayPal and Venmo accounts. Notably,

Rispoli set up the PayPal account—which she controlled—using the name of another

Company employee in order to hide her scheme.

      Rispoli also took other complex steps to conceal her embezzlement from the

Company. She was required by the Company to submit the AMEX statements to the

Company’s accounting firm. To hide her fraudulent charges, Rispoli doctored those

AMEX statements, changing the merchant description and/or the dollar amount,

before emailing it to the Company’s accounting firm. Eventually, Rispoli stopped

sending altered AMEX statements and instead created false billing summaries in

Excel, which she emailed to the Company’s accounting firm. Rispoli’s concealment

was so effective that her embezzlement was not detected by the Company until after

she was laid off in June 2016, when it found suspicious charges in the course of

preparing her severance.




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      B. Procedural Background

        On June 25, 2018, Rispoli pled guilty to a one-count Indictment charging wire

fraud in violation of 18 U.S.C. § 1343. Rispoli entered into a written plea agreement

that included a guideline stipulation. The parties agreed that under U.S.S.G.

§ 2B1.1(a)(1), Rispoli had a base offense level of seven (7). The parties agreed that 14

levels should be added under § 2B1.1(b)(1)(H) because the loss was more than

$550,000 but less than $1,500,000. The Government agreed to recommend that the

Court reduce by two levels Rispoli’s adjusted offense level under § 3E1.1 and an

additional level pursuant to § 3E1.1(b). The parties agreed that the total offense level

is 18. The parties agreed that Rispoli was in Criminal History Category I, resulting

in an advisory sentencing range of 27 to 33 months’ imprisonment and a fine of

$10,000 to $100,000. The parties also agreed that Rispoli would make restitution in

an amount not less than $1,098,176.

II.     DISCUSSION

        Consideration of the Sentencing Guidelines and the statutory factors in 18

U.S.C. § 3553(a) demonstrate that the defendant’s crime warrants a period of

imprisonment consistent with the guidelines range described above and outlined in

the parties’ plea agreement. A downward departure under Section 5K2.13 is

unwarranted. The Government acknowledges Rispoli’s status as a first-time offender

and her acceptance of responsibility, but both are already taken into account by the

Sentencing Guidelines. Likewise, the Government does not dispute that there are

personal circumstances that the Court should consider. Nonetheless, a sentence in



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the range of 27 to 33 months’ imprisonment is appropriate under the circumstances

of Rispoli’s offense.

       A. Downward Departure Under Section 5K2.13 Is Unwarranted

              1. Applicable Law

       While “[m]ental and emotional conditions are not ordinarily relevant in

determining whether a sentence should be outside the applicable range,” U.S.S.G.

§ 5H1.3, a district court can exercise its discretion to grant a downward departure on

the ground of diminished capacity if “(1) the defendant committed the offense while

suffering from a significantly reduced mental capacity; and (2) the significantly

reduced mental capacity contributed substantially to the commission of the offense,”

U.S.S.G. § 5K2.13. The defendant must prove both elements by a preponderance of

the evidence. United States v. Valdez, 426 F.3d 178, 184 (2d Cir. 2005).

       With respect to the first prong, the standard for determining “significantly

reduced mental capacity” is not whether the defendant can recognize the difference

between right and wrong, but rather that her “diminished mental capacity impaired

[her] judgment or [her] ability to understand the wrongfulness of [her] actions.” Id.

Offense conduct that is complex and spans a substantial period of time militates

against a finding that the defendant suffered from a significantly reduced mental

capacity. See id. at 185 (acknowledging defendant’s emotional and mental

impairments but concluding that because his wire fraud scheme involved “hundreds

of written records” showing a complex fraud that lasted multiple years, his

impairments were not severe enough to support a downward departure); United



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States v. Kottage, 510 Fed. Appx. 23, 25 (2d Cir. 2013) (affirming district court’s

refusal to downward depart despite evidence of bipolar disorder because defendant’s

wire fraud scheme “involved deviousness, deceit . . . [a]nd conscious behavior on

[defendant’s] part”).

      As for the second prong, the reduced mental capacity must have contributed

substantially to the commission of the offense. See United States v. Qualls, 613 F.

App’x. 25, 30 (2d Cir. 2015). In cases where courts have granted downward

departures, the causal link between diminished capacity and the commission of the

charged offense has been direct. See United States v. Santa, No. 05-cr-649, 2008 WL

265560, at *3 (E.D.N.Y. May 14, 2008) (holding that defendant’s mental retardation

meant he was easily influenced and manipulated by others, which was a direct cause

of his involvement in narcotics trafficking); United States v. Tanasi, No. 02-cr-96,

2004 WL 406724, at *2 (S.D.N.Y. Mar. 3 2004) (finding a causal connection where

defendant’s obsessive and compulsive behavior regarding adult pornography led to

his involvement in child pornography).

             2. Discussion

      Rispoli seems to have mental health issues stemming from the Boston

Marathon bombing, which she witnessed. However, she has failed to show a causal

link between her post-traumatic stress disorder (“PTSD”) and her systematic,

recurring, and well-concealed defrauding of the Company.

      First, the evidence shows that she began her embezzlement scheme prior to

April 15, 2013, the day of the marathon. This fact alone should be dispositive.



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      Second, Dr. Grove’s analysis does not conclude that her mental illness

compelled her to embezzle and manipulate records to hide her conduct. At best, Dr.

Grove’s conclusions establish that Rispoli’s mental illness allowed her to conduct the

fraud without feeling a sense of guilt. Based on the length and extent of Rispoli’s

scheme, any observer would agree that she had no remorse while stealing from the

Company.

      Third, contrary to Rispoli’s present claim that her PTSD resulted in a

“detachment” from her “computerized transactions” that made them seem “unreal,”

Def.’s Sentencing Memo at 8, her scheme was not simply a matter of pushing a few

buttons, but was methodically and purposefully planned and executed. Rispoli

repeatedly chose to use the Company’s AMEX to charge personal expenses; each of

these purchases required a deliberate decision to use the Company’s AMEX. Rispoli

also chose to use that AMEX to operate what was essentially a risk-free t-shirt

business for a short period of time, one in which the Company bore all the costs and

Rispoli kept all the profits. Every month for a period of years, Rispoli chose to falsify

the Company’s records to hide her conduct. When Rispoli decided to increase the

amount she embezzled on a monthly basis, she chose to deceptively create a PayPal

account in the name of her co-worker, also in order to hide her conduct. This long and

continuous history of choices by Rispoli is inconsistent with detachment, and instead

reveal that she treated embezzling from the Company as her real job.

      Fourth, Rispoli’s claim that “she gained little personally from the

transactions,” id., is ludicrously at odds with the evidence. In fact, Rispoli used the



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Company’s AMEX to buy herself and her boyfriend personal and luxury items, take

vacations, and generally live a life she otherwise would not have been able to afford.

      Rispoli’s PTSD did not contribute to the commission of her crime, and she is

not eligible for a downward departure under U.S.S.G. § 5K2.13.

      B. The Sentencing Factors

      The Government respectfully submits that a balanced consideration of the

section 3553(a) factors requires a sentence of between 27 and 33 months’

imprisonment.

             1. Nature and Circumstances of the Offense

      The nature and circumstances of the offense are straightforward and serious.

Rispoli perpetrated a scheme to defraud her employer for several years, stealing more

than $1,000,000 and using that money for her personal benefit. Instead of addressing

her mental health issues and taking responsibility for her actions, she continued her

fraudulent conduct for more than three years. In fact, when initially confronted by

the FBI, she claimed that she was authorized by the Company to use the AMEX for

personal use and concocted a story about partners “buy[ing] silence” from employees

like her who allegedly witnessed inappropriate behavior. Needless to say, Rispoli lied

to the FBI, her conduct was unauthorized, and her vague allegations against her co-

workers were unfounded. That Rispoli eventually agreed to admit guilt is reflected

by the significant reduction in her guidelines calculation for acceptance of

responsibility.




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      Importantly, this is not a case where Rispoli made a single mistake or exercised

bad judgment on an isolated occasion. In fact, she made hundreds of unauthorized

personal charges on the AMEX and distinct cash transfers to PayPal and Venmo

accounts that she controlled. Rispoli hid each of these instances of theft with her

monthly falsification of records.

      Furthermore, Rispoli’s crime had real world consequences, as the Company

makes clear in its victim impact statement:

      Rispoli’s actions were not some victimless crime. Rispoli abused the
      trust placed in her by her employer and her colleagues, spending
      lavishly on luxuries while tampering with the Company’s financial
      records to cover her tracks. The investigation to uncover her theft
      generated many hours of work for those same colleagues, on top of their
      regulate duties, and diverted corporate resources that could have been
      used more productively elsewhere.

Victim Impact Statement dated November 7, 2018. Just assessing the extent of

Rispoli’s fraud cost the Company $191,335, which stands in addition to the $1,098,176

she stole.

      The sentence imposed should reflect the grim facts of the offense, whereby

Rispoli, on hundreds of occasions and over more than three years, chose to steal from

her employer then lie about it.

             2. History and Characteristics

      According to the Pre-Sentence Report, Rispoli grew up with supportive, caring

parents, and described her childhood as “normal.” PSR at 7. She graduated from

college and obtained employment. Id. at 11. She currently has a substance abuse

problem, and although she was given several opportunities by this Court to seek

treatment with the support of Probation, she has been unable to sustain an alcohol-

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free lifestyle for any significant period of time. In fact, knowing that she faced

potential incarceration if she failed out of her last intensive in-patient treatment

program, she continued to use alcohol and was expelled from the program. Even with

a strong support system (both at home and through the Court), Rispoli has been

unable to seriously address the problems she faces.

      She also suffers from PTSD from witnessing the Boston Marathon bombing.

Notably, Rispoli did not seek adequate mental health treatment until she was faced

with possible incarceration after pleading guilty in this case.

      While the Court must consider these facts—which are sad and make Rispoli

more sympathetic than her offense conduct would otherwise—they do not warrant a

below guideline sentence.

             3. Seriousness of the Offense, Just Punishment, Respect for the Law

      A sentence of between 27 and 33 months’ would appropriately reflect the

seriousness of Rispoli’s offense, promote respect for the law, and provide just

punishment. Rispoli perpetrated her scheme over a period of years, eventually

stealing over $1,000,000 from the Company. Under the facts, Rispoli deserves a

significant sentence of incarceration.

             4. Specific and General Deterrence

      A sentence of between 27 and 33 months’ is appropriate in this case to deter

Rispoli and others from committing similar financial crimes.

      General deterrence serves an important function to prevent crimes of the sort

committed by Rispoli. Unless those in a position to steal from an employer understand



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that there are serious consequences for their actions, the temptation to steal cannot

be eliminated. Individuals with access to their employers’ financial accounts and the

ability to siphon money undetected must see similarly situated persons, such as

Rispoli, suffer real penal consequences that make the “cost of doing business”

intolerable.

      As such, in this instance, the Court should be seen to impose a significant term

of imprisonment.

      C. Restitution

      As part of the plea agreement, Rispoli agreed to make restitution to the victims

of her crimes in an amount not less than $1,098,176. The Government respectfully

requests that the Court order restitution in that amount.




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III.   CONCLUSION

       For the above reasons, the Government submits that a sentence of between 27

and 33 months’ imprisonment is appropriate in light of all the section 3553(a) factors

and is sufficient, but not greater than necessary, to meet the goals of sentencing.

                                        Respectfully submitted,

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                                Certificate of Service

      I hereby certify that on May 21, 2019, a copy of the foregoing was filed

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filing system or by mail to anyone unable to accept electronic filing as indicated on

the Notice of Electronic Filing. Parties may access this filing through the Court’s

CM/ECF System.




                                         ___/s/_____________________________
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